
55 N.Y.2d 991 (1982)
Board of Managers of Village House, Respondent,
v.
Paris B. Frazier, Appellant, et al., Defendants.
Court of Appeals of the State of New York.
Decided February 18, 1982.
Hal Meyerson for appellant.
Eugene A. Wolkoff for respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
On review of submissions pursuant to rule 500.2 (b) of the Rules of the Court of Appeals (22 NYCRR 500.2 [b]), order affirmed, with costs. The injunction was properly granted by Special Term upon a sufficient showing that defendant had violated the condominium by-laws and the prior order of that court. Additionally, plaintiff was entitled to summary judgment dismissing defendant's counterclaims in view of defendant's failure to raise sufficient evidentiary facts to defeat the motion. Finally, we agree that attorney's fees were properly assessed in this action to enforce the condominium by-laws and, on the present record, it is not necessary for us to reach the further question as to the manner in which such award may be enforced.
